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                                                                                                                                EXHIBIT A
                            SCHEDULE OF RECEIPTS AND DISBURSEMENTS
               FOR THE PERIOD BEGINNING :                     August 1, 2013                             AND ENDING :         August 31, 2013

   Name of Debtor: TRILLION PARTNERS, INC.                                                               Case Number:         11-cv-01787-MSK-MJW

                                                                                                             CURRENT
                                                                                                              MONTH

   1. FUNDS AT BEGINNING OF PERIOD                                                                             2,955,143.19   (a)
   1. RECEIPTS:
    A. Customer Collections at Trillion                                                                                   -
    B. Customer Collections in Lockbox                                                                         2,021,249.60
    C. Received from Secured Lenders                                                                             595,601.90
    D. Other Receipts                                                                                                     -

   2. TOTAL RECEIPTS                                                                                           2,616,851.50

    TOTAL FUNDS AVAILABLE FOR
       OPERATIONS                                                                                              5,571,994.69

   3. DISBURSEMENTS
    A    Advertising                                                                                                     -
    B    Bank /Credit Card Charges                                                                                  240.40
    C    Contract Labor                                                                                          56,629.90
    D    Fixed Asset Payments                                                                                   196,402.74
    E    Insurance                                                                                               39,296.86
    F    Inventory Payments                                                                                       6,670.89
    G    Leases                                                                                                  27,156.27
    H    Circuits                                                                                                88,669.71
    I    Office Supplies                                                                                            289.19
    J    Payroll - Net                                                                                          185,745.16
    K    Professional Fees                                                                                               -
   K1           Alvarez & Marsal                                                                                 25,193.44
   K2           McElroy, Deutsch, Mulvaney & Carpenter                                                                   -
   K3           Horowwitz & Burnett, P.C.                                                                         1,890.00
   K4           Wiley Rein                                                                                       61,964.76
   K5           Greg Vogt                                                                                         7,800.00
   K6           Ford & Harrison                                                                                          -
   K7           Real Estate Tax Consultants                                                                              -
   K8           Winstead P.C.                                                                                            -
   K9           Grimshaw & Haring                                                                                        -
   K10          Ewell, Bickham, Brown & Rabb L                                                                           -
   K11          Smith,Angderson,Blount,Dorsett                                                                           -
   K12          Carianne Weston                                                                                          -
   K13          Madison Sproul Partners                                                                                  -
    L    Rent                                                                                                    10,692.98
    M    Repairs & Maintenance                                                                                      280.00
    N    Secured Creditor Payments                                                                                       -
    O    Taxes Paid - Payroll                                                                                    57,817.16
    P    Taxes Paid - Sales & Use                                                                                91,486.14
    Q    Taxes Paid - Other                                                                                       4,286.10
    R    Telephone                                                                                                1,307.52
    S    Travel & Entertainment                                                                                          -
    T    Utilities                                                                                               11,420.45
    U    Vehicle Expenses                                                                                        13,164.11
   U1 Bear Reimbursements                                                                                                -
   U2 Payroll Contributions                                                                                      59,123.77
   U3 Transfer to Escrow Account on behalf of Secured Creditors                                                 763,016.89
   U4 Disbursement from Vectra Bank to Trillion
   U5 Disbursement from US Bank to Vectra                                                                        786,623.58
    V    Other Operating Expenses                                                                                981,552.94
   Excess prior months checks cleared over current month checks uncleared                                       (134,273.22)
   4. TOTAL DISBURSEMENTS (Sum of 3A thru V)                                                                   3,344,447.74
   5. NET CASH FLOW FOR PERIOD                                                                                  (727,596.24)
   7. ENDING BALANCE (Line 4 Minus Line 6)                                                                     2,227,546.95 ( c )
                                                                          Check                                         -
                                                                                                                        -
   I declare under penalty or perjury that this statement and the accompanying documents and reports are true
   and correct to the best of my knowledge and belief.

   This 19th         day of                     September                         ,2013.                 s/ Byron P. Smyl
                                                                                                                              (Signature)

   ( a ) This number is carried forward from last month's report. For the first report only, this number will be the
         balance as of the receivership date.
   ( b ) This figure will not change from month to month. It is always the amount of funds on hand as of the date of
         the receivership
   ( c ) These two amounts will always be the same if form is completed correctly.


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